Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 1 of 59 Page ID #:419


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     7
         Attorneys for Defendants
     8 LAM SIN YAM; RAY LIM; TIFFANY NGO;
         NGO ASSET MANAGEMENT, LLC;
     9 TIFFANY NGO IN HER CAPACITY AS
         TRUSTEE OF THE TIFFANY NGO
    10 LIVING TRUST UTD; CRUISE THRU DAIRY
         D/B/A CRUISE THRU DAIRY, VALERO MART
    11 INC. D/B/A VALERO MART/ARCO MARKET
         INC., and TIFFANY NGO D/B/A SPEEDY
    12 WASH
    13                       UNITED STATES DISTRICT COURT
    14                     CENTRAL DISTRICT OF CALIFORNIA
    15 SOCHEAT CHY,                  )              Case No. 2:17-cv-04325-BRO-AGR
                                     )
    16                  Plaintiff,   )              REQUEST FOR JUDICIAL
                                     )              NOTICE IN SUPPORT OF
    17             v.                )              MOTION TO DISMISS OF
                                     )              DEFENDANTS LAM SIN YAM;
    18   LAM SIN YAM;                )              RAY LIM; TIFFANY NGO; NGO
         RAY LIM;                    )              ASSET MANAGEMENT, LLC;
    19   TIFFANY NGO;                )              TIFFANY NGO IN HER CAPACITY
         NGO ASSET MANAGEMENT, LLC; )               AS TRUSTEE OF THE TIFFANY
    20   TIFFANY NGO IN HER CAPACITY )              NGO LIVING TRUST UTD;
         AS TRUSTEE OF THE TIFFANY   )              CRUISE THRU DAIRY D/B/A
    21   NGO LIVING TRUST UTD;       )              CRUISE THRU DAIRY; VALERO
         NAING LAM YAM;              )              MART INC. D/B/A VLERO
    22   CINDY KANYA CHAN;           )              MART/ARCO MARKET INC.; AND
         MOLICA RATHA KEO;           )              TIFFANY NGO D/B/A SPEEDY
    23   NIVODETH KHIEV;             )              WASH
         CRUISE THRU DAIRY, D/B/A    )
    24   CRUISE THRU DAIRY;          )              Hearing Date: October 23, 2017
         VALERO MART INC., D/B/A     )              Time:         1:30 P.M.
    25   VALERO MART/ARCO MARKET     )              Court Room: 7C
         INC.; and                   )
    26   TIFFANY NGO, D/B/A SPEEDY   )
         WASH,                       )
    27                               )
                   Defendants.       )
    28                               )

                                                 1
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                  DEFENDANTS’ MOTION TO DISMISS
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 2 of 59 Page ID #:420


     1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     2        PLEASE TAKE NOTICE that Defendants LAM SIN YAM; RAY LIM;
     3 TIFFANY NGO; NGO ASSET MANAGEMENT, LLC; TIFFANY NGO IN HER
     4 CAPACITY AS TRUSTEE OF THE TIFFANY NGO LIVING TRUST UTD,
     5 CRUISE THRU DAIRY D/B/A CRUISE THRU DAIRY, VALERO MART INC.
     6 D/B/A VALERO MART/ARCO MARKET INC., and TIFFANY NGO D/B/A
     7 SPEEDY WASH (collectively “Defendants”) hereby respectfully request that this
     8 Court take Judicial Notice, pursuant to Federal Rules of Evidence 201, Mullis v.
     9 United States Bank. Ct., 828 F.2d 1385, 1388 (9th Cir. 1987), MGIC Indem. Corp. v.
    10 Weisman, 803 F.2d 500 (9th Cir 1986), Sears v. Metropolitan, 245 F.2d 67 (9th Cir.
    11 1956), of the following matters and documents in consideration of Defendants’
    12 concurrently filed Motion to Dismiss:
    13        The original Complaint in the above-captioned matter was filed on June 9,
    14 2017, a true and correct copy of which, bearing the file-stamp date, is attached
    15 hereto as “Exhibit 1.”
    16 DATED: September 19, 2017                       SULLIVAN, KRIEGER, TRUONG
                                                       SPAGNOLA & KLAUSNER, LLP
    17
    18
                                                       _/s/Eliot F. Krieger _____________
    19                                                 Eliot F. Krieger, P.C.
                                                       Heidi Stilb Lewis
    20
                                                       Christopher L. Wong
    21                                                 Attorneys for Defendants
                                                       LAM SIN YAM; RAY LIM;
    22
                                                       TIFFANY NGO; NGO ASSET
    23                                                 MANAGEMENT, LLC; TIFFANY
                                                       NGO IN HER CAPACITY AS
    24
                                                       TRUSTEE OF THE TIFFANY NGO
    25                                                 LIVING TRUST UTD; CRUISE
                                                       THRU DAIRY D/B/A CRUISE THRU
    26
                                                       DAIRY, VALERO MART INC.
    27                                                 D/B/A VALERO MART/ARCO
                                                       MARKET INC., and TIFFANY NGO
    28
                                                       D/B/A SPEEDY WASH
                                                    2
                                REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                    DEFENDANTS’ MOTION TO DISMISS
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 3 of 59 Page ID #:421




                                   Exhibit 1
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 4 of 59 Page ID #:422
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 5 of 59 Page ID #:423
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 6 of 59 Page ID #:424
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 7 of 59 Page ID #:425
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 8 of 59 Page ID #:426
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 9 of 59 Page ID #:427
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 10 of 59 Page ID
                                  #:428
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 11 of 59 Page ID
                                  #:429
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 12 of 59 Page ID
                                  #:430
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 13 of 59 Page ID
                                  #:431
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 14 of 59 Page ID
                                  #:432
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 15 of 59 Page ID
                                  #:433
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 16 of 59 Page ID
                                  #:434
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 17 of 59 Page ID
                                  #:435
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 18 of 59 Page ID
                                  #:436
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 19 of 59 Page ID
                                  #:437
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 20 of 59 Page ID
                                  #:438
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 21 of 59 Page ID
                                  #:439
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 22 of 59 Page ID
                                  #:440
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 23 of 59 Page ID
                                  #:441
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 24 of 59 Page ID
                                  #:442
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 25 of 59 Page ID
                                  #:443
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 26 of 59 Page ID
                                  #:444
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 27 of 59 Page ID
                                  #:445
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 28 of 59 Page ID
                                  #:446
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 29 of 59 Page ID
                                  #:447
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 30 of 59 Page ID
                                  #:448
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 31 of 59 Page ID
                                  #:449
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 32 of 59 Page ID
                                  #:450
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 33 of 59 Page ID
                                  #:451
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 34 of 59 Page ID
                                  #:452
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 35 of 59 Page ID
                                  #:453
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 36 of 59 Page ID
                                  #:454
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 37 of 59 Page ID
                                  #:455
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 38 of 59 Page ID
                                  #:456
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 39 of 59 Page ID
                                  #:457
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 40 of 59 Page ID
                                  #:458
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 41 of 59 Page ID
                                  #:459
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 42 of 59 Page ID
                                  #:460
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 43 of 59 Page ID
                                  #:461
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 44 of 59 Page ID
                                  #:462
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 45 of 59 Page ID
                                  #:463
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 46 of 59 Page ID
                                  #:464
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 47 of 59 Page ID
                                  #:465
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 48 of 59 Page ID
                                  #:466
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 49 of 59 Page ID
                                  #:467
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 50 of 59 Page ID
                                  #:468
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 51 of 59 Page ID
                                  #:469
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 52 of 59 Page ID
                                  #:470
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 53 of 59 Page ID
                                  #:471
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 54 of 59 Page ID
                                  #:472
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 55 of 59 Page ID
                                  #:473
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 56 of 59 Page ID
                                  #:474
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 57 of 59 Page ID
                                  #:475
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 58 of 59 Page ID
                                  #:476
Case 2:17-cv-04325-VAP-AGR Document 45-2 Filed 09/19/17 Page 59 of 59 Page ID
                                  #:477
